Case 1:18-cv- 03521- RDB Document 34- 1 Filed 12/18/18 Page 1 of 1
' lJDAlVlBl ET Ai_ \/' COREC l`\/lC ll\lC.

CONSENT T O JOll\l LAWSU|T CLf-`\il\/lll\iG 1i-l/3\_TC`, §-'l\.ii\/'.EGRA[!ON DETA}NEES AT THE C|BOLA
COUNTY CORRECT|ONAL CENTER \NEF<E F’)’-`\lD LESS THAN THE AMOUNT REQU|RED BY LAW FOR
THElR WORK '

Name: BOI<<>LZ oMB¢t Di€u

 

1. l arn over the age of eighteen and cemeeteet to gave my consent in this matter `

2. l performed v\/ork for CoreCivic inc While d tainted at Cibola County Correctional Center at some point
during the last two yearsl

3. l consent and agree to join this case against CoreCivic, lnc., to recover unpaid minimum Wages and other
benefitsl including liquidated damages By joining this law suit, l agree to be bound by any ruling orjudgment
, issued by the Courtot by any settlemeet;\lt’ais car # , 1 ,,-,
4 | understand that this lawsuit claims that CoreCi~/ic lnc failed to pay me and others detained at the Cibola
Correctional Center vvages at empl mts required by iata for Jvorl< l understand that this lawsuit seeks to
recover unpaid Wages and other compensation that C oreCi\/ic lnc. unlawtully retained k

5. l choose to be represented by ciass counsei Cc= h~::.;': iv§iistein Q ell rs & Toll PLLC; l\/liner, Barnhill &
Galland, P.C; the Law Otfice et R.!‘ drew 1 r; e.; ',t.f ' ‘ ' av;v ers tl ey may choose to associate With
for all purpeses ih this actieh and take atty ste pursue my claims

    

 

6. l understand that i may \,vithdta\..y this consent at a:“y time iey notifying in Writing class counsel identified
above.

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Date Signed Signature

 

 

 

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Return this term loy mail, email, or fa)< tci
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Cohen i\/Iilsteih Selters & Toii. Pi_l_C
Atth: Julia l\/lohtiel

1100 l\levt/ Yort< Ave.l l\lVV, Suite 500
Washington, D-C 20005

Email: op1- mtcy`o'ten"u! tier. com
Fax; (ZOZEW `

 

